                                                    U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                    86 Chambers Street
                                                    New York, New York 10007


By electronic filing                                February 25, 2025

Catherine O’Hagan Wolfe
Clerk of the Court
United States Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

       Re:    Zherka v. Bondi, No. 22-1108
              Oral argument held May 8, 2023, before Judges Newman, Lynch, and Pérez

Dear Ms. Wolfe:

       Defendant-appellee (the “government”) respectfully writes, pursuant to Rule 28(j), to
inform the Court of the Tenth Circuit’s decision in Vincent v. Bondi, __ F.4th __, No. 21-4121,
2025 WL 453999 (10th Cir. Feb. 11, 2025). In Vincent, the Tenth Circuit reaffirmed its earlier
holding in Vincent v. Garland, 80 F.4th 1197 (10th Cir. 2023)—the subject of the government’s
Rule 28(j) letter of September 15, 2023. (Dkt. Entry no. 135). The more recent Vincent decision
followed the Supreme Court’s vacatur and remand of the earlier decision in light of United States
v. Rahimi, and “freshly considered the Second Amendment claim and conclude[d] that Rahimi
doesn’t undermine the panel’s earlier reasoning or result.” 2025 WL 453999 at *1. In short, the
Tenth Circuit has again “upheld the constitutionality of § 922(g)(1) without drawing
constitutional distinctions based on the type of felony involved,” and concluded that “the Second
Amendment doesn’t prevent application of § 922(g)(1) to nonviolent offenders.” Id. at *2.

       Thank you for your consideration.

                                                    Respectfully submitted,

                                                    MATTHEW PODOLSKY
                                                    Acting United States Attorney

                                            By:      /s/ Benjamin H. Torrance
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cc: Counsel of record (via electronic filing)
